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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   IN RE: SEARCH WARRANT                 No. PM

13                                         [PROPOSED] ORDER SEALING
                                           DOCUMENTS
14
                                           (UNDER SEAL)
15

16        For good cause shown, IT IS HEREBY ORDERED that the search
17   warrant and all attachments thereto, the application for the search
18   warrant and all attachments thereto, as well as the ex parte
19   application for order sealing documents, the memorandum of points
20   and authorities, the declaration of Joanna Curtis, and this Court’s
21   sealing order, and all documents subsequently filed under this same
22   case number until such time as a unsealing order is issued, shall be
23   kept under seal until further order of the Court, or until the
24   government determines that these materials are subject to its
25   discovery obligations in connection with criminal proceedings, at
26   which time they may be produced to defense counsel.          The executing
27   //
28   //

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 1   agents or officers are permitted to provide a copy of the search

 2   warrant as required by Federal Rule of Criminal Procedure 41(f).

 3

 4
     DATE                                    HONORABLE CHARLES F. EICK
 5                                           UNITED STATES MAGISTRATE JUDGE

 6

 7          IN CASE OF DENIAL:

 8          The government’s application for an order sealing documents is

 9   DENIED.   The underlying documents and the sealing application shall

10   be returned to the government, without filing of the documents or

11   reflection of the name or nature of the documents on the clerk’s

12   public docket.

13          IT IS SO ORDERED.

14
            8/9/18                               /S/ CHARLES F. EICK
15
     DATE                                    HONORABLE CHARLES F. EICK
16                                           UNITED STATES MAGISTRATE JUDGE

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18   Presented by:

19      /s/Joanna Curtis
     Joanna Curtis
20   Assistant United States Attorney

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